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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 UNITED STATES OF AMERICA,                    §
   Plaintiff,                                 §
                                              §                 CRIMINAL ACTION NO:
 v.                                           §                         3:20-CR-380-B
                                              §
 JASON SHEROD BALDWIN,                        §
   Defendant.                                 §

                                          ORDER

         The Court, having considered the Government=s Motion to Withdraw Arrest Warrant,

finds that the reasons set forth in the motion support the request and the motion is GRANTED.

         It is ORDERED that the warrant be withdrawn and quashed.

               SIGNED this 1st day of September, 2020.
